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Subject: today's deposition

From: Lynn Tincher-Ladner <lynn.tincher-ladner@ptk.org>

Date: 11/22/24, 1:02 PM

To: George Boggs <george.r.boggs@gmail.com>, “Daniel J. Phelan"
<PhelanDanielj@jccmi.edu>, Mary Linder <linderm@grayson.edu>

Everyone,

Christin Grissom (who | terminated for lying to me) is testifying under oath this morning that she
questions my ethics on the number and amount of scholarships available for PTK students, and
she is saying that she vehemently disagreed with me about the calculation of the scholarships
available to members. She said she was only doling what she was told...etc.

| am sitting here trying not to have a stroke, because we cannot ask questions until the very end
of the deposition. When we do, Jonathan is going to have her read this email aloud.

CH LARS
Ke

OCTGBER 13, 2024

FIFTH-ANNUAL VIRTUAL FUNDRAISING RACE

Go the Extra Mile for PTK!

Lynn Tincher-Ladner, Ph.D. (she/her)
President and CEO

Phi Theta Kappa Honor Society

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— Attachments:

9.2.21 email re Sumati and scholarship calculations. pdf 1.5 MB
